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                                                                                                       FILED
                                                                                                February 03, 2022
                                                                                               CLERK, U.S. DISTRICT COURT
                                                 AFFIDAVIT                7:22-MJ-018          WESTERN DISTRICT OF TEXAS

                                                                                                        M. Ramirez
                                                                                            BY: ________________________________
                                                                                                                    DEPUTY
1.      I, Hernan Velez Jimenez, Special Agent (SA), Homeland Security Investigations (HSI), being

first duly sworn, depose and state as follows:

2.      I have successfully completed extensive law enforcement training emphasizing narcotics and

immigration investigations. I have been employed by U.S. Department of Homeland Security, Homeland

Security Investigations (HSI) as a Special Agent since October 2018. I have attended and successfully

completed the Criminal Investigator Training Program and the HSI Special Agent Training Academy at

the Federal Law Enforcement Training Center (FLETC) in Glynco, Georgia. Prior to being employed by

Homeland Security Investigations, I was employed by the United States Border Patrol, for approximately

12 years.

3.      I make this Affidavit, in part, based on my personal observation, experience, training; my

personal knowledge gathered during my participation in this investigation; information conveyed to me

by other law enforcement officers and witnesses involved in this investigation, either personally in

conversation or through their reports; my review of physical evidence obtained during the investigation;

and my review of records obtained during this investigation. This affidavit is submitted for the limited

purpose of establishing probable cause for a criminal complaint and arrest warrant, and it does not include

each and every fact of this investigation.

4.      Based on the facts set forth herein, I submit that there is probable cause to believe that on or about

April 29, 2021, in the Western District of Texas and elsewhere, Defendants Armando Gael GALICIA

(GALICIA), Jose Diego TERCERO-Gonzalez (TERCERO-GONZALEZ), Jose Alfredo ANDRES-

Esteban (ANDRES-Esteban), and Erick GOSALEZ-Fernandez (GONSALEZ-Fernandez)- conspired

to smuggle, transport, and harbor illegal aliens for commercial advantage or financial gain resulting in

death, in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(v) & 1324(a)(2)(B)(iv).

5.      On May 3, 2021, Homeland Security Investigations (HSI) Midland, Texas received information

from the United States Border Patrol (USBP) indicating the USBP Big Bend Sector (BBT) Foreign
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Operations Branch (FOB) had been notified by the Guatemalan Consulate (GUATCON) in Del Rio,

Texas of a possible deceased Guatemalan citizen, whose remains had been discarded near Odessa,

Texas. The information provided indicated that a member of a human smuggling organization (HSO)

contacted the family member(s) of M.A.R.C., a 21-year-old female to notify them of the death. M.A.R.C.,

who is a citizen and national of Guatemala, had been illegally smuggled into the U.S. by the HSO. The

information provided further indicated the HSO informed M.A.R.C.’s family member(s) that M.A.R.C.

had died at a “stash house” near Odessa and that her body was wrapped in a sheet and discarded in the

desert.

6.        On May 4, 2021, HSI Midland received additional information from USBP, which indicated

GUATCON provided updated information for the location where M.A.R.C.’s body had been discarded.

USBP forwarded an image of which displayed what appears to be a hand-drawn map within a notebook.

The map appeared to depict the cities of Midland and Odessa, as well as roadways labeled 20, 385, 329,

and 1601. The hand-drawn map further displayed a location on the roadway marked as 1601 labeled

“Fabrica”, and a specific location marked on 1601 where M.A.R.C.’s body may have been discarded. At

approximately 3:20 P.M., the Crane County Sherriff Office located female human remains near FM 1601

in a rural area of Crane County.

7.        On May 5, 2021, an autopsy of the female human remains was conducted at South Plains

Forensic Pathology in Lubbock, Texas. During the autopsy, USBP Agents obtained photographs of the

deceased female’s thumbs, in an attempt to further identify the remains.

8.        On May 19, 2021, USBP notified HSI Midland that a latent print examiner compared the

photographs of the deceased female’s thumbs to a fingerprint card associated to the Guatemalan Registro

Nacional de las Personas (RENAP) of M.A.R.C. The latent print examiner determined that the deceased

female found near F.M. 1601 in Crane County and autopsied on May 5, 2021, was M.A.R.C.

9.        On July 23, 2021, HSI Midland Special Agents conducted an interview with a source of

information (SOI) who claimed to have knowledge of the HSO responsible for smuggling M.A.R.C into

the United States and her death. The SOI identified individuals identified by the monikers of “TEMO”,
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“CHEPE” and “PEPE” as the leaders of the HSO responsible to smuggle M.A.R.C. into the U.S. Using

information provided by the SOI, HSI Midland initially identified “TEMO” as Luis MORENO-Gonzalez

and later as Armando Gael GALICIA. “CHEPE” was initially identified as Juan GASPAR-Marroquin,

and later identified as Jose Alfredo ANDRES-Esteban. “PEPE” was identified as Jose Diego

TERCERO-Gonzalez.

10.     On August 23, 2021, Homeland Security Investigations (HSI) Office of the Resident Agent in

Charge Midland obtained a federal search warrant for the two trailers located at 910 Coyochic Avenue,

Odessa, Texas.

11.     At approximately 4:00 p.m. HSI Midland SAs returned to 910 Coyochic Avenue, to surveil the

property with the objective of gathering intelligence prior to the execution of the search warrant. At

approximately 5:00 P.M., HSI Special Agents observed back Chevrolet Tahoe and a silver Ford Explorer

arrived arrive at the property. At approximately 5:35 p.m., HSI Special Agents observed the black

Chevrolet Tahoe depart the premises. HSI Special Agents advised Ector County Sherriff Deputy to follow

the vehicle with the objective of identify the license plate and registered owner. The ECSO deputy

observed that the vehicle was bearing Texas license plate NWP5926. Records checks revealed

unconfirmed insurance for the vehicle. The ECSO Deputy initiated a traffic stop for violations of Texas

Transportation Code. During the traffic stop, the vehicle occupants provided Mexican identifications

under the names of Luis MORENO-Gonzalez (later identified as Armando Gael GALICIA), A.H.G.,

T.R-G(later identified as T.R.P), and A.S.P. (identified as Jose Alfredo ANDRES-Esteban). A vehicle

occupant presented a Wells Fargo debit card bearing the name of Jose Diego T. GONZALEZ (later

identified as TERCERO-Gonzalez). A United States Border Patrol Agent (BPA) responded to the traffic

stop location and conducted an immigration inspection of the vehicle occupants. Later, all subjects

admitted being Guatemalan nationals illegally present in the U.S.

12.     At approximately 7:10 p.m. HSI Special Agents with the assistance of Odessa, Police

Department offices, Ector County Sheriff Deputies, Immigration and Customs Enforcement (ICE)

Officers and United States Border Patrol Agents executed a federal search warrant at 910 Coyochic
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Avenue Odessa, Texas. In the blue trailer, law enforcement officers (LEO) encountered V.B.C.C, and

M.S.T.

13.      In the white trailer, LEOs encountered four illegal aliens identified as D.P.-R.,C.O.L.P, C.L.-L.,

G.G.-Q. (a pregnant Ecuadorian), and S.E.-Z. All subjects admitted being illegally present in the U.S.

Field interviews revealed that four illegal aliens had been recently smuggled into the U.S. and were not

target of the investigation. All four were turned over to the U.S.B.P for further processing under Title 42,

Expulsion.

14.      After the search warrant was concluded, thirteen illegal aliens were determined to be targets of

the investigation or Material Witnesses. All of subjects were transported to the Midland County Detention

Center (MCDC) for further processing.

15.      At the MCDC, all subjects were read their Miranda Warning in the Spanish Language. Below is

a non-verbatim synopsis of their interview.

16.      M.S.T was read her Miranda warnings in the Spanish language at 910 Coyochic Avenue Odessa,

Texas. M.S.T. agreed to speak with the Special Agents without an attorney present. M.S.T. stated that

she arrived at the stash house located at 910 Coyochic Avenue, Odessa, Texas in April 2021. M.S.T.

stated that she was offered the job as caretaker by the ASO. She accepted the job and began working as a

caretaker at 910 Coyochic, Avenue. During the interview, M.S.T. admitted receiving a payment in

Guatemala of 10,0000 Quetzals per month for her services as caretaker. M.S.T. further stated that

organization maintained approximately 120 illegal aliens in the stash house at any given time.

17.      M.S.T stated that she was aware that M.A.R.C had arrived at the white trailer located at 910

Coyochic Avenue. M.S.T. claimed that she did not witness the death of M.A.R.C but she she was told by

the HSO leaders that M.A.R.C had died at 910 Coyochic Avenue. M.S.T. stated that she overheard that

the leaders discussing the burying the human remains at the property. M.S.T. claimed that she never

observed the human remains however she learned that the human remains were removed from the

property that same day. M.S.T identified the leaders by the monikers of “TEMO” (GALICIA),

“CAMELLO,” (TERCERO-Gonzalez), and “CARNALO” (ANDRES-Esteban).
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18.     Jose Alfredo ANDRES-Esteban was briefly interviewed at 910 Coyochic Avenue, Odessa,

Texas. ANDRES-Esteban was read his Miranda warnings in the Spanish language. ANDRES-Esteban

stated he understood his rights was willing to speak with Special Agents without an attorney present.

During the interview ANDRES-Esteban admitted being a Guatemalan national illegally present in the

U.S. ANDRES-Esteban stated that he was prosecuted for violations of Title 8 U.S.C. § 1326, Illegal Re-

entry. According to ANDRES-Esteban he was arrested during a failed human smuggling attempt on

November 4, 2020. ANDRES-Esteban admitted being the driver of the vehicle that was transporting

eight illegal aliens. ANDRES-Esteban gave HSI Special Agents verbal consent to search his cell phone.

During the search the Special Agents observed communications between TERCERO-Gonzalez

(Camello) and GALICIA. However, ANDREZ-Esteban claimed he did not know the individuals.

19.     At approximately 11:09 p.m. Armando Gael GALICIA (A.K.A. Luis MORENO-Gonzalez) was

interviewed by HSI Special Agents. GALICIA was read his Miranda warnings at 910 Coyochic Avenue,

Odessa, Texas. Initially, GALICIA asked to have an attorney present but later changed his mind and

agreed to speak with Special Agents without an attorney present. At the MCDC GALICIA reminded of

his Miranda Warning and agreed to continue speaking with the Special Agents. According to GALICIA

he was working for a HSO since February 2020. After a few months working for the organization, he had

problems with other smugglers and decided to organize his own HSO. GALICIA admitted to smuggling

aliens since April 2020.

20.     GALICIA identified an individual known by the moniker of “DIESEL” as one of his workers.

DIESEL was later identified as Erick GONSALEZ-Fernandez. GALICIA further stated that M.A.R.C

was picked up by three drivers known by the monikers of “LENTES”, “LOCO” and “TUERTO”.

“LENTES” was later positively identified.

21.     Later during the interview GALICIA admitted that M.A.R.C passed away at 910 Coyochic

Avenue, Odessa, Texas. However, GALICIA claimed that that the D.S. brothers were in charge of the

stash house when M.A.R.C. passed away. GALICIA claimed that he was instructed to discard the human

remains but refused to do so.
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22.     GALICIA’s fingerprints and other biometric information was enrolled into the IDENT/Next

Generation Identification (NGI) database. NGI returned a positive match for GALICIA’s fingerprints.

Computer indices revealed that GALICIA was convicted in November of 2017, for violations of Title 8

U.S.C § 1324, Transporting Aliens for Financial gain.

23.     On December 8 , 2021, M.R.D.E was arrested by the United States Border Patrol (USBP) in Van

Horn, Texas. HSI Midland Special Agents interviewed M.R.D.E at the Sierra Blanca Border Patrol

Station. M.R.D.E was read his Miranda warnings stated that he understood his rights and was willing to

speak with the Special Agents without an attorney present. M.R.D.E stated that he worked transporting

illegal aliens for Armando Gael GALICIA for approximately five months. M.R.D.E stated that he

picked up a group of 12 illegal aliens including the victim, M.A.R.C. in an unspecified vehicle. M.R.D.E

stated that while transporting the group, he asked the victim if she was doing well. M.R.D.E. stated that a

friend of the victim told him that the female had been passing out while walking through the desert and

may be dehydrated.

24.     M.R.D.E stated that upon arrival at 910 Coyochic Avenue, Odessa, Texas, all the smuggled aliens

exited the vehicle, however, the victim was not getting out, and he instructed her to get out of the vehicle.

According to M.R.D.E., the victim told him ”OK” and tried to get out and passed out, collapsing to the

ground. M.R.D.E stated that he picked up the victim and took her inside the white trailer and placed her in

a chair and provided her with more water. M.R.D.E stated that he asked the victim if she was M.R.D.E

stated that after some time, he went to check on the victim, but she did not respond anymore, and

discovered that she had died. M.R.D.E. stated that the stash house caretakers were present when

M.A.R.C. died. M.R.D.E stated that” DIESEL” ( Erick GONSALEZ-Fernandez),” and the stash house

caretakers made the decision to discard the human remains. M.R.D.E. stated that GONSALEZ-

Fernandez discarded the human remains without any other assistance and claimed having no knowledge

if there were other individuals involved.
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25.     M.R.D.E stated that he was paid approximately $125 per illegal alien he picked up. M.R.D.E

stated that he received orders from GALICIA, TERCERO-Gonzalez, and ANDRES-Esteban.

M.R.D.E. stated that he transported approximately 100 illegal aliens for the HSO.

26.     HSI Midland executed multiple electronic devices search warrants that revealed a large number

of pictures documenting wire transfers to GALICIA, TERCERO-Gonzalez, and ANDRES-Esteban.

27.     Based on the preceding facts and my experience, training, and discussions with other individuals

involved in this investigation, I believe there is probable cause Armando Gael GALICIA (MORENO-

Gonzalez) Jose Diego TERCERO-Gonzalez (TERCERO-GONZALEZ), and Jose Alfredo ANDRES-

Esteban (ANDRES-Esteban), and Erick GONZALEZ-Fernandez (GONSALEZ-Fernandez) conspired

to smuggle, transport, and harbor illegal aliens, including M.A.R.C., who died in or near Odessa, Texas

after having been smuggled from Guatemala, across the Mexico border.

28.     If a Defendant is convicted of violating Title 8 U.S.C. § 1326(a)(1)(A)(v)(I), for each alien in

respect to whom such a violation results in the death of any person, the defendant may be punished by

death or by imprisonment for any term of years; up to 5 years of supervised release; up to a $250,000

fine; a $100 special assessment; and a $5,000 assessment under the JVTA. Assistant United States

Attorney Glenn Harwood has been informed of the facts of this case and has accepted prosecution.




                                                     /s/ Hernan Velez Jimenez
                                                  ________________________________
                                                  Hernan Velez Jimenez
                                                  Special Agent
                                                  Homeland Security Investigations


Sworn To and Subscribed Before Me this 3rd day of February 2022.




_________________________________
Ronald C. Griffin
United States Magistrate Judge
